
949 So.2d 409 (2007)
STATE ex rel. Edwin J. STARK
v.
STATE of Louisiana.
No. 2006-KH-1457.
Supreme Court of Louisiana.
February 16, 2007.
Writ granted in part; otherwise denied. Because R.S. 14:31(B) does not call for a prohibition on parole, probation, or suspension of sentence in the circumstances presented by relator's case, relator's sentence imposed under that statute is *410 amended to delete the prohibition. The district court is directed to make an entry in the minutes reflecting this change and the clerk of court is directed to transmit the original of the minute entry to officer in charge of the institution to which the defendant has been sentenced. La.C.Cr.P. art. 892(B)(2). In all other respects, the application is denied.
